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             UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF NEW JERSEY
GENESIS OFFICE SYSTEMS, INC. *
                             *
     Plaintiff,              *
                             *
v.                           * Civil Case No.: PJM 14-2704
                             *
PNC BANK, NATIONAL ASSO.     *
                             *
     Defendant.              *
**********************************************

    PLAINTIFF’S RULE 56 MOTION FOR SUMMARY JUDGMENT

        Genesis Office Systems, Inc. (hereafter “Genesis”), Plaintiff, by and through its

attorney, Rickey Nelson Jones, pursuant to Federal Rules of Civil Procedure, Rule 56,

moves the court to grant summary judgment for Plaintiff. As grounds therefor, he

says:

                              UNDISPUTED FACTS

        1. In May 2014, Plaintiff’s C.E.O. Mr. Ronald Hawkins visited one of

Defendant’s bank branches for the purpose of redeeming two company Certificates of

Deposit (hereinafter “CDs”).

        2. The CDs were for ten thousand dollars ($10,000.00) and one hundred

thousand dollars ($100,000.00), the former acquired in 1997 and the latter acquired in

2001. See. Attached Exhibit “A-i & A-ii”

        3. The CDs had automatic renewal provisions at maturity, for the same period,

bearing the interest rate then in effect.
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       4. The CDs were acquired by the company for future use whenever business

needs so dictated.

       5. Plaintiff’s C.E.O., Ronald Hawkins, is the only company official with

authority to redeem CDs, write checks, authorize financial expenditures, etc.

       6. Upon visiting Defendant’s Prince Frederick, Maryland, bank branch and

presenting the CDs for redemption, officials there refused to permit redemption,

claiming a need for research.

       7. A week later, Plaintiff’s C.E.O. was informed that the only records

Defendant had on the CDs were two pages entitled Certificate of Deposit Statement,

showing “TD REDEMPTION.” See. Attached Exhibit “B-i & B-ii”

       8. Plaintiff’s C.E.O. informed Defendant that the CDs were never redeemed,

showed Defendant’s officials the original Certificates of Deposit, and informed them

that no other person in the company had authority to redeem the CDs but him and he

had not done so.

       9. Plaintiff requested that Defendant give proof of the redemption by providing

[i] the name of the person who redeemed the CDs, [ii] the signature of the person who

redeemed the CD, and/or [iii] some video of someone redeeming the CDs.

       10. Defendant failed to provide any proof but refused to return Plaintiff’s funds

as promised when the CDs were obtained.1

                                     THE LAW

Federal Rules of Civil Procedure: Summary Judgment
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           Fed.R.Civ.P, Rule 56(c)(2) states, “The judgment sought should be rendered if

the pleadings, the discovery and disclosure material on file, and any affidavits show

that there is no genuine issue as to any material fact and that the movant is entitled to

judgment as a matter of law.” The United States Supreme Court provided clear

instructions about granting a motion for summary judgment in Celotex Corp. v.

Catrett, 477 U.S. 317, 91 L.Ed 2d 265, 106 S.Ct. 2548 (1986). It said, “Regardless of

whether the moving party accompanies its summary judgment motion with affidavits,

the motion may, and should, be granted so long as whatever is before the district court

demonstrates that the standard for the entry of summary judgment, as set forth in Rule

56(c), is satisfied.” 91 L.Ed 2d at 274. The Supreme Court also outlined the Judge’s

role when a motion for summary judgment is before him or her in Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 91 L.Ed 2d 202, 106 S.Ct. 2505 (1986). It said, “It is clear

enough from our recent cases that at the summary judgment stage the judge’s function

is not himself to weigh the evidence and determine the truth of the matter but to

determine whether there is a genuine issue for trial....” Anderson, 91 L.Ed 2d at 212.

Nonetheless, “summary judgment procedure is properly regarded not as a disfavored

procedural shortcut, but rather as an integral part of the Federal Rules as a whole,

which are designed ‘to secure the just, speedy and inexpensive determination of every

action.’ ” Celotex Corp. 477 U.S. at 327. It remains firm that the absence of material

facts in genuine dispute should produce judgment for the movant. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 91 L.Ed 2d 202, 106 S.Ct. 2505 (1986); Matsushita


1	  The	  facts	  in	  paragraphs	  1-­‐10	  were	  sworn	  to,	  under	  penalty	  of	  perjury,	  by	  Mr.	  Hawkins.	  
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Electrical Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 106 S.Ct. 1348, 89 L.Ed

2d 538 (1986).

Maryland Commercial Law

       Annotated Code of Maryland, Commercial Law Article, Section 3-104(j),

Negotiable Instruments (hereinafter “Code, CL, Sec.???), reads as follows,

“Certificate of deposit” means an instrument containing an acknowledgment by a

bank that a sum of money has been received by the bank and a promise by the bank to

repay the sum of money. A certificate of deposit is a note of the bank.”

Code, CL, Sec. 3-602(a), Payment, reads as follows, “(a) Subject to subsection (b), an

instrument is paid to the extent payment is made (i) by or on behalf of a party obliged

to pay the instrument, and (ii) to a person entitled to enforce the instrument….”

Code, CL, Sec. 3-412, Obligation of issuer of note or cashier’s check, reads as

follows, “The issuer of a note or cashier’s check or other draft drawn on the drawer is

obliged to pay the instrument (i) according to its terms at the time it was issued….”

                                   ARGUMENT

       When Plaintiff’s C.E.O. presented the CDs for redemption, Defendant was

legally required to return the company’s funds, plus interest. While it is

understandable that the Defendant would desire to do some research for funds

exceeding one hundred thousand dollars, it is not understandable that it would create

some document showing the funds were redeemed without producing a document of

the signature of the one redeeming. Since Defendant has admitted, in writing, that it

does not have any records other than what it created to support its refusal to return
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Plaintiff’s funds (Exhibits “B-i & B-ii”), refusing to honor its obligation to return

Plaintiff’s funds is unjustifiable. Code, CL, Sec. 3-602(a), Payment, makes it clear

that payment is not made until the instrument IS paid by the party obliged to the

person entitled to such payment. Maryland Law does not permit non-payment

because a bank has lost records and then creates a document that is void of the most

essential element to establish payment, i.e., the signature of the one paid. The sheer

amount involved herein bars what the Defendant has done. Any bank “paying out”

over one hundred and ten thousand dollars (at anytime) must obtain either a signature

or at least the identify of the person being given such a substantial amount of money

belonging to a corporation. The CDs Plaintiff acquired in 2001 placed a legal

obligation on Defendant to repay them upon request. Section 3-104(j), Negotiable

Instruments. There was an automatic renewal provision (See. Attached Exhibit

“A-i”), and therefore, Defendant had an obligation to keep records concerning the

certificates. Defendant’s claims about not needing to keep records beyond seven (7)

years is patently unreasonable in light of the automatic renewal provision. Moreover,

no bank regulation on the state level or national level, no secured transactions law, and

no internal policy can negate Defendant’s clear legal obligation to pay the notes

according to their terms. Code, CL, Sec. 3-412, Obligation of issuer of note or

cashier’s check.

       In desperation, Defendant has claimed that records acquired from Plaintiff’s tax

preparer during years after the CDs were acquired suggest redemption of them.

Attached as Exhibit “C” is a financial summary from the tax preparer of critical
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records he did not create. They show a CD balance for FY 2001 of $113,980.00.

This reflects the $110,000.00 CDs Plaintiff acquired. Exhibit “C” also shows Loans

from the C.E.O. to Plaintiff totaling $147,502. As the attached Affidavit establishes,

Plaintiff is a family business that employs the C.E.O.’s relatives. As a family

business, personal money of the C.E.O. was used often to sustain the business. Since

the loans from the C.E.O. exceeded the CD funds, after 2001 the CD funds were

removed from the books since the company owed more than their value. In essence,

the CD funds are not reflected on Exhibit “C” or the tax returns after 2001 because,

for all intents and purposes, the company was in debt to the C.E.O. beyond what the

CDs were worth. The C.E.O.’s personal financial health enabled him to leave the

company CDs in the bank, as such, for over a decade as security for the business. In

2014, the business was in need of finances and that led the C.E.O. to visit Defendant’s

bank to redeem them.2 Defendant’s extrapolation about the CDs being redeemed is

incorrect, and such speculation can never negate Defendant’s legal duty to return

Plaintiff’s funds per Maryland Annotated Code, Commercial Law Article.

          WHEREFORE, Plaintiff respectfully requests that Summary Judgment be

entered for Plaintiff, awarding all damages requested and such other and further relief

the court deems proper.

                                                                                     /s/
                                                                            Rickey Nelson Jones
                                                                            Law Offices of Reverend Rickey
                                                                                  Nelson Jones, Esquire

2	  Defendant,	  in	  another	  desperate	  attempt,	  has	  claimed	  that	  Plaintiff’s	  corporate	  status	  

has	  been	  revoked	  in	  Maryland.	  	  This	  oversight	  requires	  the	  formality	  of	  paying	  a	  fee	  and	  
filing	  revival	  documents.	  	  	  Plaintiff’s	  counsel	  has	  begun	  that	  process.	  
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                                             3rd Floor — Suite 5
                                             1701 Madison Avenue
                                             Baltimore, Maryland 21217
                                             410-462-5800 / joneses003@msn.com

                                             Attorney for Plaintiff




                        CERTIFICATE OF SERVICE

      Genesis Office Systems, Inc., hereby gives notice that on this 9th day of
March, 2015, it served (via CM/ECF) “Plaintiff’s Rule 56 Motion for
Summary Judgment” on Defendant’s counsel of record – Michael S.
Barranco, TREANOR POPE & HUGHES, PA., 500 York Road, Towson,
Maryland 21204.

                                                     /s/
                                             Rickey Nelson Jones

                                             Attorney for Plaintiff
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**********************************************

                                         ORDER

       Upon the “Plaintiff’s Rule 56 Motion for Summary Judgment,” it is this

             day of                         , 2015, by the United States District

Court for the District of Maryland

       ORDERED that Summary Judgment be, and hereby is, GRANTED to the

Plaintiff, with all requested damages.


                                                             JUDGE
